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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA


                                      MEMORANDUM



Honorable Anthony W. Ishii                   RE: Carlos Sarabia
Senior United States District Judge              Docket Number: 0972 1:07CR00315-01
Fresno, California                               PERMISSION TO TRAVEL
                                                 OUTSIDE THE COUNTRY

Your Honor:


Carlos Sarabia is requesting permission to travel to Tijuana, Rosarito, Mexico. Carlos Sarabia is
current with all supervision obligations, and the probation officer recommends approval be
granted.


Conviction and Sentencing Date: On August 2, 2010, Carlos Sarabia was sentenced for the
offense of 21 USC 846 and 841(a)(1) - Conspiracy to Distribute Methamphetamine.


Sentence Imposed: 128 months custody of the Bureau of Prisons (sentence of imprisonment
reduced to 120 months pursuant to 18 USC 3582(c)(2) on 2/27/2015) followed by a 60-month
supervised release term. Special conditions include: Search; Financial disclosure; Drug/alcohol
treatment and testing; Abstain from alcohol; and Aftercare co-payment.


Dates and Mode of Travel: The offender’s dates of travel will be June 29, 2016 through
July 17, 2016. He will take Amtrak train #702 from Modesto, California, to San Diego,
California, then Mexico, with a final destination at 1812 Circuito Roma, San Marino, Tijuana,
Mexico.


Purpose: Daughter’s school graduation.




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                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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In addition, it is also respectfully requested Your Honor provide the Probation Officer with the
discretion to authorize any further travel by the offender to Mexico, without further Court
notification. If allowed to travel out of the country under the following noted conditions, the
offender will be instructed to report to the United States Department of Homeland Security (or
other appointed border security official) upon his entry and exit from Mexico.


                                    Respectfully submitted,

                                      /s/ Jose A. Figueroa

                                       Jose A. Figueroa
                                United States Probation Officer


Dated:    June 17, 2016
          Modesto, California
          JAF/lr

                            /s/ Brenda Barron-Harrell
 REVIEWED BY:              Brenda Barron-Harrell
                           Supervising United States Probation Officer




                                ORDER OF THE COURT

          ☒     Approved        ☐       Disapproved

IT IS SO ORDERED.

Dated: June 20, 2016
                                           SENIOR DISTRICT JUDGE




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